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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

  TUSHBABY, INC.,

            Plaintiff,
  v.
                                                           Case No. 1:24-cv-21136-LEIBOWITZ

  FLEEROSE,

            Defendant.
                                      /
  TUSHBABY, INC.,

            Plaintiff,
  v.

  SHIAON,

            Defendant.
                                      /
  TUSHBABY, INC.,

            Plaintiff,
  v.

  ZOOYEE,

            Defendant.
                                      /

                         PLAINTIFF’S NOTICE OF MEDIATION SELECTION

            Plaintiff Tushbaby, Inc., through counsel, advises that the parties 1 have selected Mark

  Stein, who is on the Certified Mediator’s List as the mediator in this case. The mediation

  conference in this matter will be held on June 30, 2025, at 10 a.m. by Zoom.


  1
      Except ZOOYEE, which is in default. [ECF No. 127].
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  Dated: March 7, 2025

                                     Respectfully submitted,

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